Case 4:21-cr-00005-O         Document 310         Filed 05/23/25       Page 1 of 3      PageID 7477



                       UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
   Plaintiff                                  )
                                              )
v.                                            )                    Case No. 4:21-cr-00005-O-1
                                              )
THE BOEING COMPANY,                           )
                                              )
   Defendant.                                 )
_____________________________________________ )

 NOTICE BY NAOISE CONNOLLY RYAN, ET AL. OF INTENT TO EXERCISE CVRA
    RIGHT TO BE HEARD IN OPPOSITION TO PROPOSED DISMISSAL AND
        REQUESTING TIME TO CONFER ON A BRIEFING SCHEDULE

       Naoise Connolly Ryan et al. 1 (the “victims’ families” or “families”), through undersigned

counsel, file this notice regarding the Government’s status report indicating that it intends to file a

motion to dismiss the pending charges under Federal Rule of Criminal Procedure 48(a) (ECF No.

309). The victims’ families intend to exercise their Crime Victims’ Rights Act (CVRA) rights to

be heard in opposition to the proposed plea dismissal. See In re Ryan et al., 88 F.4th 614, 627 (5th

Cir. 2023) (holding in this case that, if a motion to dismiss is filed, “courts retain adjudicatory

responsibility, including an obligation to apply the CVRA. Public perception and confidence in the

criminal justice system assume that when criminal charges are submitted for judicial resolution,

the courts vigilantly will enforce the public interest, including Congress’ command that crime

victims are heard and protected”). The families intend to argue that the Court should deny the


       1 In addition to Ms. Ryan, the other victims’ family members filing this motion are Emily

Chelangat Babu and Joshua Mwazo Babu, Catherine Berthet, Huguette Debets, Luca Dieci, Bayihe
Demissie, Sri Hartati, Zipporah Kuria, Javier de Luis, Nadia Milleron and Michael Stumo, Chris
Moore, Paul Njoroge, Yuke Meiske Pelealu, John Karanja Quindos, Guy Daud Iskandar Zen S.,
and others similarly situated.
                                                1
Case 4:21-cr-00005-O        Document 310         Filed 05/23/25      Page 2 of 3      PageID 7478



motion to dismiss, as it is authorized to do under Fed. R. Crim. P. 48(a). See id. at 627 (citing

United States v. Hamm, 659 F.2d 624, 629 (5th Cir. Unit A Oct. 1981) (en banc) (reiterating

Supreme Court and prior Fifth Circuit precedent that district judges are empowered to deny

dismissal when “clearly contrary to manifest public interest” as assessed “at the time of the

decision to dismiss”).

       The families intend to argue that the dismissal unfairly makes concessions to Boeing that

other criminal defendants would never receive and fails to hold Boeing accountable for the deaths

of 346 persons. Cf. ECF No. 185 (“Boeing’s crime may properly be considered the deadliest

corporate crime in U.S. history”). As a result, the motion to dismiss rests on pretextual and

offensive premises.

       The Government’s status report indicates that they intend to file its motion to dismiss no

later than May 30, 2025. It is apparent from the Government’s status report that, of the 346 victims’

families, the large majority have not expressed they “support the Agreement specifically, support

the Department’s efforts to resolve the case pre-trial more generally, or do not oppose the

Agreement.” (See ECF No. 309 at 3). It will expedite the families’ ability to be heard on the

reasons the Court should reject the dismissal and will avoid duplicative briefing and statements if

they are able to coordinate with other victims or their counsel to the extent possible. After

reviewing the Government’s motion as well as the proposed agreement when it is filed, the families

ask that their counsel have an opportunity to confer with other counsel in the case and the

Government by June 6, 2025 about proposing to the Court a mutually agreeable briefing schedule.




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Case 4:21-cr-00005-O      Document 310         Filed 05/23/25      Page 3 of 3    PageID 7479




Dated: May 23, 2025                         Respectfully submitted,

 /s/ Darren P. Nicholson                      /s/ Paul G. Cassell
 Warren T. Burns                              Paul G. Cassell (Utah Bar No. 06078)
 Texas Bar No. 24053119                       (Counsel of Record)
 Darren P. Nicholson                          Utah Appellate Project
 Texas Bar No. 24032789                       S.J. QUINNEY COLLEGE OF LAW
 Chase Hilton                                 University of Utah
 Texas Bar No. 24100866                       cassellp@law.utah.edu
 BURNS CHAREST LLP                            (no institutional endorsement implied)
 900 Jackson Street, Suite 500
 Dallas, Texas 75202                          Tracy A. Brammeier
 Telephone: (469) 904-4550                    CLIFFORD LAW OFFICES PC
 wburns@burnscharest.com                      tab@cliffordlaw.com
 dnicholson@burnscharest.com
 chilton@burnscharest.com                     Erin R. Applebaum
                                              KREINDLER & KREINDLER LLP
                                              eapplebaum@kreindler.com

                                              Pablo Rojas
                                              PODHURST ORSECK PA
                                              projas@podhurst.com

                                 Attorneys for Victims’ Families




                                 CERTIFICATE OF SERVICE

       I certify that on May 23, 2025, the foregoing document was served on the parties to the

proceedings via the Court’s CM/ECF filing system.

                                                    /s/ Darren P. Nicholson
                                                    Darren P. Nicholson




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